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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:04CR302
                                             )
             Plaintiff,                      )
                                             )              AMENDED
             vs.                             )        MEMORANDUM AND ORDER
                                             )
JAVIER CRUZ-NARANJO,                         )
                                             )
             Defendant.                      )

      This matter is before the Court on a Report and Recommendation (Filing No. 126)

of a Magistrate Judge recommending that I accept the Defendant’s plea of guilty. There

are no objections to the Report and Recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C)

and NECrimR 11.2(d), the Court has conducted a de novo review of the record.

      IT IS ORDERED:

      1.     The Report and Recommendation (Filing No. 126) is adopted;

      2.     The Defendant is found guilty. The plea is accepted. The Court finds that

             the plea of guilty is knowing, intelligent, voluntary, and that a factual basis

             exists for the plea; and

      3.     This case shall proceed to sentencing.

      DATED this 26th day of April, 2005.

                                                 BY THE COURT:

                                                 s/ Laurie Smith Camp
                                                 Laurie Smith Camp
                                                 United States District Judge
